20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 1 of 44
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20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 3 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 4 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 5 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 6 of 44
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20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 20 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 21 of 44
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20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 23 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 24 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 25 of 44
20-05027-rbk Doc#117-2 Filed 10/26/20 Entered 10/26/20 22:00:33 Exhibit B Pg 26 of 44
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